     Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 1 of 12




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------x
JENNIFER SHARKEY,

                      Plaintiff,                            10 Civ. 3824

     -against-                                                  OPINION

J.P. MORGAN CHASE & CO., JOE KENNEY,
ADAM GREEN, and LESLIE LASSITER, in
their official and individual
capacities,

                      Defendants.

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A P P E A RA N C E S:

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    Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 2 of 12




Sweet, D.J.



     Client A, a non-party to this action, is joined by

Defendants J.P. Morgan Case & Co.      ("JPMCu), Joe Kenney

("Kenneyu), Adam Green ("Greenu) and Leslie Lassiter

("Lassiteru)   (collectively, the "Defendantsu), in moving to

protect Client A's identity at trial and quash the trial

subpoena for Client A and certain of his family members.          Upon

the findings and conclusions set forth below, Client A and

Defendants' motion is granted in part and denied in part.

Defendants filed 10 motions in limine and Plaintiff filed four

motions in limine.   All of Plaintiff's motions were resolved at

ora l argument on January 17, 2017 as were five of Defendants'

motions.   Defendants' remaining five motions in limine are

granted in part and denied in part.



Prior Proceedings



     The non-party, Client A, filed the instant motion to quash

the trial subpoena on December 23 , 2016 and the motions in

limine were filed on January 9, 2017.      The motions were all

heard and marked fully submitted on January 17, 20 17.


                                   1
     Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 3 of 12




The Motion to Protect Client A's Identity and Quash Client A's
Trial Subpoena is Granted in Part and Denied in Part


     Client A and Defendants moved to protect the names of

Client A, other members of the A-Family, and affiliated entities

from disclosure at trial and to quash the trial subpoenas.             For

the reasons that follow, Client A's identit y will be protected

up until the time at which either of the parties can make an in

camera showing that Client A's testimony will be relevant during

trial.   The motion to quash the subpoenas is denied.



     Under Federa l Rule of Evidence 401, testimony is relevant

if "it has any tendency to make a fact more or less probable

than it would be without the evidence."        Fed. R. Evict. 40 1.

Here, the only relevant inquiry is whether Plaintiff's belief

that she was whist leblowing about potentially illegal conduct

was reasonable at the time of her employment and whether her

whistleblowing led to her termination.       The parties dispute

whether Client A's testimony will help to determine the

reasonableness of Plaintiff's determination.         Plaintiff argues

that Client A did not willingly comply with the Know Your Client

requirements and that Client A's deposition testimony was

inconsistent with other testimony from JPMC witnesses.          However,


                                    2
     Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 4 of 12




Plaintiff will need to demonstrate to the Court in camera during

trial why Client A's testimony will be relevant.



     If the Plaintiff can make a showing of relevance, then the

question becomes whether the Court will protect Client A's

identity.   Client A and Defendants warn of the harm that Client

A would suffer harm to his business if his identity were

revealed and he was required to testify, whereas Plaintiff

argues that she has a right to Client A's live testimony.



     The Second Circuit has a "presumption of access" to live

witnesses though cases dispute whether this presumption is

"especially strong" requiring "extraordinary circumstances to

justify restrictions" United States v. Myers        (In re Nat'l

Broadcasting Co.),    635 F.2d 945, 952    (2d Cir. 1980), while other

courts weigh the presumption as merely "one of the interests"

that may bow before "good reasons" to deny the requested access.

Bel o Broadcasting Corp. v. Clark,      654 F.2d 423, 434   (5th Cir.

Unit A 1981); see also, United States v. Amodeo, 71 F.3d 1044,

1048 (2d Cir. 1995)    ("Amodeo II").




                                    3
     Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 5 of 12




      Against this presumption of access to testimony, courts

must weigh the "two countervailing factors:        (i) the danger of

impairing law enforcement or judicial efficiency and (ii) the

privacy interests of those resisting disclosure."         Amodeo II,   71

F.3d at 1050.     Client A does not argue that there are any

dangers to law enforcement or substantial savings to judicial

efficiency.     Instead, Client A argues that his privacy interests

outweigh the presumption in favor of disclosure.



      Courts have held that "[t]he privacy interests of innocent

third parties .      . should weigh heavily in a court's balancing

equation."    Amodeo II,   71 F.3d at 1050 (quoting Gardner v.

Newsday, Inc.    (In re Newsday, Inc.),   895 F.2d 74, 79-80     (2d Cir.

1990)) .   Courts will not allow public access to information

simply to "gratify private spite or promote public scandal," and

have "refused to permit their files to serve as reservoirs of

libelous statements for press consumption."        Amodeo II,    71 F.3d

at 1051 (quoting Nixon v. Warner Communications, Inc.,          435 U.S.

589, 598, 98 S.Ct. 1306, 55 L.Ed.2d 570 (1978)).



     Amodeo II provided examples of the kinds of records that

should be protected from public disclosure such as "[f]inancial


                                    4
    Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 6 of 12




records of a wholly owned business, family affairs, illnesses,

[and] embarrassing conduct with no public ramifications."

Amodeo II,    71 F.3d at 1051.   Further, "The nature and degree of

injury must also be weighed" including "the sensitivity of the

information."     Id.



     Here, the mere disclosure of Client A's identity does not

amount to the kind and nature of the records Amodeo II intended

to protect.     His identity is not the same as disclosure about

sensitive financial information, illnesses, or trade secrets.

Instead Client A's counsel asserts that connecting Client A's

identity with Plaintiff's accusations of wrongdoing would amount

to defamation per se.     However, the potential defamation claim

is not before this Court and if Client A's testimony is shown to

be relevant, he will not be permitted to shield his identity

merely to advance his privacy interests.



     Defendants and Client A have not advanced an explanation

for differentiated treatment for Client A and the absence of any

explanation may cause jury confusion and concern on a peripheral

issue.




                                   5
     Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 7 of 12




Defendants' Motion in Lim.ine 1 is Granted in Part and Denied in
Part


      Defendants' first motion in limine concerns the date from

which Plaintiff may calculate back pay.        The Second Circuit has

held that plaintiffs are not entitled to back pay "to the extent

they "fail[] to remain in the labor market" because they "may

not simply abandon [their]     job search and continue to recover

back pay."   Kirsch v. Fleet Street, 148 F.3d 149, 168 (2d Cir.

1998) .



      Here, the last document showing Plaintiff looked for work

is in October 2010.     In her deposition she testified that she

continued to seek employment through December 2011.          Her claims

for back pay will end at the date at which the jury determines

she stopped actively applying for jobs and seeking empl o yment.

Merely maintaining contact with industry professionals will not

suffice, and hearsay evidence regarding her search for

employment offered for the truth of out of court statements will

not be permitted.     At that date, back pay will cease because

Sharkey "made no reasonable efforts to seek such employment"

when she was still capable of employment and failed to mitigate


                                     6
    Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 8 of 12




her damages .    Greenway v. Buffalo Hilton Hotel,      143 F.3d 47,   54

(2d Cir. 1998).



     Plaintiff also seeks front pay, which is awarded "where

reinstatement is inappropriate and the plaintiff has been unable

to find another j ob ."    Reed v. A.W. Lawrence & Co .,    95 F.3d

1170, 11 82   (2d Cir . 1996).   However, that concept is

inapplicable here as Plaintiff could have found a job had she

conducted a more thorough search than applying to j obs between

her termination and October 2010 with additional contacts to

industry professionals in 2011 .         Plaintiff has also not made any

showing that reinstatement is not possible.         Evidence of front

pay will not be permitted .



Defendants' Motion in Limine 2 is Denied


     Defendants' second motion in limine concerns whether

Plaintiff may provide evidence regarding her speculat i ve

bonuses, benefits, or salary increases.         Defendants' motion is

denied.   Plaintiff can make any claims for back pay and may try

t o convince the jury that she is deserv ing of these additional

categories of pay.     However, this ca l cu lati on of back pay wil l

on l y be permitted through th e last date at which Plaintiff

                                     7
     Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 9 of 12




applied for a job or can demonstrate through non-hearsay

evidence that was actively seeking employment.



Defendants' Motion in Limine 3 is Denied


     Defendants' third motion in limine seeks to have the Court

determine the amount of damages instead of the jury.          Previous

decisions in this District have allowed juries to determine the

calculation of compensatory back pay, but the Court has

determined equitable relief in Sarbanes-Oxley Act of 2002

("SOX") whistleblower cases.      See Perez v.   Progenies Pharm.,

Inc., No. 10 Civ. 08278    (LAP), 2016 WL 4533398, at *14      (S.D.N.Y.

Aug. 30, 2016) .   Here, the same rule will be applied.        The jury

will be asked to determine the proper amount of back pay based

on when Plaintiff stopped actively applying for jobs and

searching for work.    The Defendants' motion is denied.



 Defendants' Motion in Limine 4 is Denied


     Defendants'   fourth motion in limine seeks to prohibit

Plaintiff from introducing evidence regarding reputational

damage, harm to career, and emotional distress.         Defendants cite

Perez v. Progenies Parm., Inc. for the proposition that it was

proper in a motion in limine to "preclud[e] evidence regarding
                                8
    Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 10 of 12




damages for loss of reputation, emotional distress, depression,

and psychological injuries" because those conditions were "not

covered under Sarbanes-Oxley."     2015 WL 10846076, at *2

(S.D.N.Y. Apr. 2, 2015).     However, this decision is not

consistent with the majority of authority in this area.         More

recently, the Honorable William H. Pauley I I I held that "With

respect to damages for emotional distress, every circuit court

to address the issue holds that such damages may be recoverable

pursuant to SOX's language stating that a prevailing employee

'shall be entitled to all relief necessary to make the employee

whole.'"     Feldman-Boland v. Stanley, No. 15 Civ.    6698, 2016 WL

3826285, at *6 (S.D.N.Y. July 13, 2016)      (citing the statutory

language).    Consistent with the reasoning in Feldman-Boland,

other Courts have found that reputational injury is also

compensable under SOX.     "When reputational injury caused by an

employer's unlawful discrimination diminishes a plaintiff's

future earnings capacity,    [she] cannot be made whole without

compensation for the lost future earnings [she] would have

received absent the employer's unlawful activity."         Mahony v.

KeySpan Corp., No. 04 CV 554    (SJ), 2007 WL 805813, at *7

(S.D.N.Y. March 12, 2007).




                                   9
     Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 11 of 12




     However, the admissibility of any particular evidence

advancing this theory has not been the subject of consideration

on this motion.    Accordingly, these categories of evidence will

be admissible at trial, though only if presented through

otherwise admissible evidence.      Defendants' motion in limine 4

is denied.



Defendants' Motion in Limine 8 is Granted


     Defendants' eighth motion in limine seeks to preclude

Plaintiff from introducing Exhibits 210, 211, and 222 as well as

any other evidence of settlements, investigations, reports,

orders, or other lawsuits.      Defendants seek to preclude these

documents on the basis that under Federal Rule of Evidence 403

"its probative value is substantially outweighed by a danger of

one or more of the following: unfair prejudice, confusing the

issues,   [and] misleading the jury."     Fed. R. Evid. 403.     Any

probative value would be far outweighed by the risk of confusion

and prejudice by introducing settlements and consent orders from

other unrelated cases.     This is particularly true because of the

risk of prejudice by Plaintiff introducing an unrelated document

describing issues JPMC experienced in connection with the Bernie

Madoff fraud.

                                   10
             Case 1:10-cv-03824-DLC Document 202 Filed 01/26/17 Page 12 of 12

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     Conclusion



             Based on the findings and conc lusi ons set forth above,

     Client A and Defendants' motion to protect Client A's identity

     and quash his trial subpoena is granted in part and denied in

     part.     Defendants' five unresolved motions in limine are granted

     in part and denied in part.




             It is so ordered.




     New York, NY
     January~,,       2017

                                                             U.S.D.J.




                                           11
